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                            Exhibit 2
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             Chicago Police Department                                                      General Order G03-06
             FIREARM DISCHARGE AND OFFICER-INVOLVED DEATH INCIDENT RESPONSE
             AND INVESTIGATION

 ISSUE DATE:                    31 December 2020               EFFECTIVE DATE:                15 April 2021
 RESCINDS:                      29 February 2020 version
 INDEX CATEGORY:                03 - Field Operations
 CALEA:



I.      PURPOSE
        This directive:

        A.        outlines the investigative authority, response procedures, and investigative responsibilities for:

                  1.      officer-involved deaths pursuant to the Illinois Police and Community Relations Improvement
                          Act (50 ILCS 727).

                  2.      firearm discharge incidents involving sworn members.

                  NOTE:                The Department has determined extraordinary circumstances demand an
                                       immediate revision or clarification to this policy. The Department will work
                                       collaboratively with the Independent Monitoring Team (IMT) and the Office of the
                                       Attorney General (OAG) to review and modify the procedures and responsibilities
                                       established by this directive, as appropriate. While this review is being conducted
                                       and until a revised directive is published, the procedures established by this
                                       directive remain in effect.

        B.        satisfies CALEA Law Enforcement Standard Chapters 4 and 41.

II.     VERBATIM TEXT OF PERTINENT SUB-SECTIONS FROM ILLINOIS COMPILED STATUTES (ILCS)

        A.        50 ILCS 727/1-5 "Definitions". As used in this Act:

                  1.      "Law enforcement agency" means an agency of this State or unit of local government which
                          is vested by law or ordinance with the duty to maintain public order and to enforce criminal
                          laws or ordinances.

                  2.      "Law enforcement officer" or "officer" means any person employed by a State, county, or
                          municipality as a policeman, peace officer, or in some like position involving the enforcement
                          of the law and protection of public interest at the risk of the person's life.

                  3.      "Officer-involved death" means any death of an individual that results directly from an action
                          or directly from an intentional omission, including unreasonable delay involving a person in
                          custody or intentional failure to seek medical attention when the need for treatment is
                          apparent, of a law enforcement officer while the officer is on duty, or otherwise acting within
                          the scope of his or her employment, or while the officer is off duty, but performing activities
                          that are within the scope of his or her law enforcement duties. "Officer-involved death"
                          includes any death resulting from a motor vehicle accident, if the law enforcement officer was
                          engaged in law enforcement activity involving the individual or the individual's vehicle in the
                          process of apprehension or attempt to apprehend.

        B.        50 ILCS 727/1-10 Investigation of officer-involved deaths; requirements.

                  1.      (a) Each law enforcement agency shall have a written policy regarding the investigation of
                          officer-involved deaths that involve a law enforcement officer employed by that law
                          enforcement agency.



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                2.       (b) Each officer-involved death investigation shall be conducted by at least 2 investigators, or
                         an entity or agency comprised of at least 2 investigators, one of whom is the lead
                         investigator. The lead investigator shall be a person certified by the Illinois Law Enforcement
                         Training Standards Board as a Lead Homicide Investigator, or similar training approved by
                         the Illinois Law Enforcement Training Standards Board or the Department of State Police, or
                         similar training provided at an Illinois Law Enforcement Training Standards Board certified
                         school. No investigator involved in the investigation may be employed by the law
                         enforcement agency that employs the officer involved in the officer-involved death, unless the
                         investigator is employed by the Department of State Police and is not assigned to the same
                         division or unit as the officer involved in the death.

                3.       (c) In addition to the requirements of subsection (b) of this Section, if the officer-involved
                         death being investigated involves a motor vehicle accident, at least one investigator shall be
                         certified by the Illinois Law Enforcement Training Standards Board as a Crash Reconstruction
                         Specialist, or similar training approved by the Illinois Law Enforcement Training Standards
                         Board or the Department of State Police, or similar training provided at an Illinois Law
                         Enforcement Training Standards Board certified school. Notwithstanding the requirements of
                         subsection (b) of this Section, the policy for a law enforcement agency, when the officer-
                         involved death being investigated involves a motor vehicle collision, may allow the use of an
                         investigator who is employed by that law enforcement agency and who is certified by the
                         Illinois Law Enforcement Training Standards Board as a Crash Reconstruction Specialist, or
                         similar training approved by the Illinois Law Enforcement Training and Standards Board, or
                         similar certified training approved by the Department of State Police, or similar training
                         provided at an Illinois Law Enforcement Training and Standards Board certified school.

                4.       (d) The investigators conducting the investigation shall, in an expeditious manner, provide a
                         complete report to the State's Attorney of the county in which the officer-involved death
                         occurred.

                5.       (e) If the State's Attorney, or a designated special prosecutor, determines there is no basis to
                         prosecute the law enforcement officer involved in the officer-involved death, or if the law
                         enforcement officer is not otherwise charged or indicted, the investigators shall publicly
                         release a report.

III.    POLICY

        A.      Sanctity of Human Life. The Department's highest priority is the sanctity of human life. The concept
                of the sanctity of human life is the belief that all human beings are to be perceived and treated as
                persons of inherent worth and dignity, regardless of race, color, sex, gender identity, age, religion,
                disability, national origin, ancestry, sexual orientation, marital status, parental status, military status,
                immigration status, homeless status, source of income, credit history, criminal record, criminal history,
                or incarceration status. Department members will act with the foremost regard for the preservation of
                human life and the safety of all persons involved. All incidents will be resolved with the foremost
                regard for the preservation of human life and the safety of all persons involved.

        B.      The Department recognizes that firearms discharge and officer-involved death incidents are traumatic
                events and is committed to treating all impacted with dignity and respect.

        C.      Consistent with existing Department Rules and Regulations on the dissemination of information, the
                actions of Department members will not unreasonably impede or delay access to information for the
                families of individuals who have been injured or the deceased.

        D.      No Department member below the rank of captain will direct any investigation into a firearm discharge
                or officer-involved death incident.

        E.      For the purposes of the procedures and responsibilities of this directive:




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                1.       an "officer-involved death incident" is any incident involving the death of or potentially life-
                         threatening injury to one or more members of the public, where such death or injury resulted
                         directly from an action or intentional omission of a Department member who was on duty or
                         otherwise acting within the scope of his or her employment or duty.

                2.       a "firearm discharge incident" is any incident where a sworn Department member has
                         discharged a firearm consistent with the Department directive titled "Firearm Discharge
                         Incidents - Authorized Use and Post-Discharge Administrative Procedures."

        F.      Firearm discharge and officer-involved death incident investigations remain bound by the involved
                members' respective collective bargaining agreement(s) and the Department directive titled
                "Department Member Bill of Rights," including the timeliness of documented formal statements.

        G.      The Department strictly prohibits its members from engaging in any form of retaliation, intimidation, or
                coercion against Department members or members of the public for reporting alleged misconduct or
                for supporting, assisting in, or cooperating with any complaint or misconduct investigation, including
                the investigation of firearm discharge and officer-involved death incident, consistent with the
                Department directive titled "Prohibition of Retaliation."

IV.     INVESTIGATIVE AUTHORITY

        A.      To ensure the proper coordination of activities and investigations of firearm discharge and officer-
                involved death incidents, the assigned designated exempt-level incident commander responsible for
                the investigation, the appropriate Bureau of Detectives Area supervisor, the Incident Response Team
                (IRT) supervisor, and the responding Civilian Office of Police Accountability (COPA) personnel will
                confer and coordinate at the scene about the conduct of on-scene investigative activity.

        B.      COPA. Pursuant to the Municipal Code of Chicago, the Civilian Office of Police Accountability
                (COPA) will:

                1.       conduct investigations into all incidents, including those in which no allegation of misconduct
                         is made, in which a Department member discharges a firearm in a manner that potentially
                         could strike another individual (Section 2-78-120(c)).

                         NOTE:                This investigative authority includes incidents where a Department
                                              member discharges a firearm and has struck another individual.

                2.       have jurisdiction and conduct investigations into all incidents of an officer-involved death as
                         defined by and consistent with the Police and Community Relations Improvement Act (50
                         ILCS 727/1-5) (Section 2-78-120(e)).

                         NOTE:                This investigative authority includes incidents where a member is off duty
                                              but performing activities that are within the scope of his or her law
                                              enforcement duties.

        C.      Chicago Police Department.

                1.       The designated exempt-level incident commander will oversee the Department's on-scene
                         investigative responsibilities into the underlying criminal conduct of non-Department members
                         and the officer-involved death or firearm discharge incident, excluding a firearm discharge
                         solely for the destruction/deterrence of an animal with no human injuries. This includes shots
                         fired at a Department member, the unintentional discharge of a firearm, and all firearms
                         discharge incidents with injuries, whether on or off duty.

                2.       For firearms discharge incidents solely for the destruction/deterrence of an animal with no
                         human injuries, the district executive officer (XO) of the district of occurrence, the rank of
                         captain, will respond and assume command of the investigation. If the district XO is not on
                         duty, the commander of the district of occurrence will respond and assume command.




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                3.       When the involved member is the same rank or higher than the incident commander
                         responsible for the investigation designated above, the designated exempt-level incident
                         commander, will assume the investigating command personnel responsibilities. When the
                         involved member is the designated exempt-level incident commander or a member the rank
                         of deputy chief or above, the Chief, Bureau of Patrol, will assume the investigating command
                         personnel responsibilities.

                4.       The on-scene designated exempt-level incident commander responsible for the investigation
                         will coordinate the Department's on-scene law enforcement related activities related to:

                         a.      the preservation of public safety.

                         b.      the investigation of any underlying criminal offenses by non-Department members.

                         c.      the Department's response, actions, and, if applicable, investigative responsibility, for
                                 other non-criminal incidents resulting in an officer-involved death (e.g., suicide in
                                 custody).

                         d.      motor vehicle crashes resulting in an officer-involved death (as defined by the Police
                                 and Community Relations Improvement Act, 50 ILCS 727) for which COPA will serve
                                 as the lead investigative agency.

                5.       The Incident Response Team is responsible for conducting the Department's investigation
                         into the underlying criminal conduct of non-Department members and the officer-involved
                         death or firearm discharge incident, excluding a firearm discharge solely for the
                         destruction/deterrence of an animal with no human injuries.

        D.      The criminal investigation of non-Department members associated with the firearms discharge or
                officer-involved death incident involving a sworn member will be conducted concurrently with the
                COPA investigation.

                NOTE:                 In instances that a firearm discharge incident has occurred that does not involve
                                      the death or potential life-threatening injury of a non-Department member, the
                                      Department investigation may take precedence over the COPA investigation.

        E.      When a firearm discharge or an officer-involved death incident requires more than one concurrent
                investigation, the responsibilities of the lead agencies are as follows:

                1.       Any on-scene activities required to ensure public safety, preserve evidence, and secure the
                         incident scene will be commenced immediately and led and coordinated by Department
                         personnel consistent with the procedures outlined in the Department directive titled
                         "Preliminary Investigations." These activities will take precedence over any other
                         investigation.

                2.       COPA has the primary responsibility and authority for investigations into the actions of any
                         Department member in relation to the firearm discharge or officer-involved death and the
                         investigation will be conducted by COPA personnel.

                         a.      Nothing within the law prevents the Department from conducting an internal review of
                                 firearm discharge or officer-involved death incidents to address Department policy,
                                 training, tactical, and equipment considerations.

                         b.      The Department will conduct an internal review of use of force incidents consistent
                                 with the Department directive titled "Department Review of Use of Force."

                3.       The investigation of the underlying criminal offense involving non-Department members will
                         be led and coordinated by Department personnel. This investigation will:

                         a.      not interfere with or obstruct the investigation conducted under the requirements of
                                 50 ILCS 727/1-10;




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                         b.      be conducted by the Bureau of Detectives, Incident Response Team which will report
                                 to and coordinate with the assigned designated exempt-level incident commander;

                         c.      be assisted by the appropriate Bureau of Detectives Area personnel who will report to
                                 and coordinate with the assigned designated exempt-level incident commander;

                         d.      be conducted independently and consistent with the procedures established by the
                                 Chief, Bureau of Detectives.

        F.      When a member of the public has sustained potential life-threatening injuries that resulted directly
                from an action or intentional omission of a Department member who was on duty or otherwise acting
                within the scope of his or her employment, and the action or omission does not otherwise fall within
                COPA's jurisdiction, the designated exempt-level incident commander will coordinate the investigation
                of the incident and confer with COPA's investigative personnel to assess what, if any, investigative
                activities will be led by or otherwise involve COPA personnel.

        G.      For any firearm discharge or officer-involved death incidents occurring within the City of Chicago
                involving a law enforcement officer employed by a law enforcement agency other than the
                Department, the Chicago Police Department will conduct all investigative activities related to the
                incident and when applicable, perform all of the duties required by the Police and Community
                Relations Improvement Act (50 ILCS 727). Federal law enforcement agencies and law enforcement
                agencies from outside of Illinois are not governed by the act and any investigation into an officer-
                involved death incident or the use of deadly force will be investigated under the jurisdiction of the
                involved agency. The Chicago Police Department will provide assistance, as needed.

V.      IMMEDIATE NOTIFICATIONS
        For all firearm discharge and officer-involved death incidents:

        A.      the involved member(s) will immediately notify the Office of Emergency Management and
                Communications (OEMC) providing all relevant information and requesting additional resources.

                NOTE:                 If the firearm discharge or officer-involved death incident occurs outside the City
                                      of Chicago, the member will also notify the law enforcement agency having
                                      jurisdiction and the Chicago Police Department's Crime Prevention and
                                      Information Center (CPIC).

        B.      OEMC will notify the:

                1.       involved member's immediate supervisor.

                2.       field supervisor and the watch operations lieutenant from the district of occurrence.

                3.       CPIC.

        C.      CPIC will notify the following via email and phone communication:

                1.       the designated exempt-level incident commander (through the Office of the First Deputy
                         Superintendent).

                2.       the commander of the district of occurrence.

                3.       COPA personnel.

                4.       the commander of the affected Bureau of Detectives area.

                5.       Bureau of Detectives Incident Response Team.

                6.       the area deputy chief, Bureau of Patrol.

                7.       the Commander, Force Review Division.

                8.       the involved member's commanding officer.

                9.       Major Accident Investigation Section, when appropriate.

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                10.      Bureau of Internal Affairs (BIA) call-out supervisor, for firearm discharge incidents.

                11.      any other units or agencies as appropriate and consistent with CPIC procedures.

VI.     IMMEDIATE RESPONSIBILITIES
        The following immediate procedures will be followed for all firearm discharge or officer-involved death
        incidents:

        A.      Initial Incident Response. Upon being notified of firearm discharge or an officer-involved death
                incident, OEMC will:

                1.       dispatch sufficient district law enforcement units to the scene.

                2.       when appropriate, notify the Chicago Fire Department to dispatch emergency medical service
                         units to the scene.

                3.       assign a field supervisor from the district of occurrence to the scene. If a member has been
                         injured, OEMC will assign a supervisor to respond to the medical facility treating the injured
                         member.

                4.       not broadcast the name of a Department member who has been involved in a firearm
                         discharge incident or an officer-involved death incident over the police radio.

        B.      Involved Member. The member(s) involved in a firearm discharge or an officer-involved death
                incident, if physically capable, will:

                1.       immediately request medical attention for the injured and, as soon as it is safe and feasible to
                         do so, provide life saving aid consistent with their Department training, including the Law
                         Enforcement Medical and Rescue Training (LEMART) training, to persons injured by a
                         Department member's use of force until medical professionals arrive on scene.

                         a.      Department members may provide appropriate medical care consistent with their
                                 training to any individual who has visible injuries, complains of being injured, or
                                 requests medical attention. This may include providing first aid and/or arranging for
                                 transportation to an emergency medical facility.

                         b.      If the scene is safe and the person in custody is secure, Department members will
                                 not interfere with emergency medical personnel when providing treatment to injured
                                 persons.

                2.       attend to all required emergency and security duties arising from the incident, including crime
                         scene protection, until the arrival of responding supervisory personnel.

                3.       remain on the scene, if not injured, and report to a field supervisor from the district of
                         occurrence upon his or her arrival.

                         EXCEPTION:           Any involved member in need of immediate medical treatment will seek
                                              such treatment, and thereafter, make themselves available to confer with
                                              the designated exempt-level incident commander responsible for the
                                              investigation.

                4.       not deactivate his or her activated Department-issued recording equipment (e.g., In-Car
                         Video Systems, Body Worn Cameras) until so directed by an on-scene supervisor in
                         accordance with the procedures delineated in the Department directives titled "Body Worn
                         Cameras" and "In-Car Video Systems."

                         NOTE:                The Body Worn Camera of the involved member will be secured
                                              consistent with the Department directive titled "Body Worn Cameras."

                5.       for firearm-discharge incidents:

                         a.      ensure that his or her firearm remains holstered and secured until it is submitted to
                                 Forensic Services Division personnel.

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                                 NOTE:                If the involved member is injured and needs to be immediately
                                                      relieved of his or her firearm prior to receiving medical treatment,
                                                      another Department member will take possession of the firearm
                                                      and duty belt and ensure that the firearm remains holstered and
                                                      secured, until the arrival of the responding supervisor.

                         b.      preserve the firearm as evidence for processing in accordance with the Department
                                 directive titled "Crime Scene Protection and Processing," if disarmed during a firearm
                                 discharge incident or if the firearm may otherwise contain biological or other trace-
                                 matter evidence.

                6.       cooperate with the public safety investigation conducted by a supervisor by providing an oral
                         response to the public safety questions to ensure public safety, preserve evidence, and
                         secure the incident scene. Consistent with the Department directive titled "Preliminary
                         Investigations," the public safety investigation will consist of general safety questions
                         concerning:

                         a.      any injuries sustained by the member or other individuals.

                         b.      whether weapons were discharged, either by Department members or other
                                 individuals, what type of weapons, and the direction of the discharges.

                         c.      whether subjects are still at large, their descriptions, direction of travel, and alleged
                                 criminal offense(s).

                         d.      the identification and location of any victims, offenders, witnesses, or evidence.

                         e.      information about any involved vehicles, including damage to vehicles or vehicle-
                                 related safety concerns.

                         f.      any officer-wellness related matters.

                         NOTE:                Department members will ensure Department-issued recording
                                              equipment (e.g., In-Car Video Systems, Body Worn Camera) are
                                              deactivated before providing oral responses to the public safety
                                              questions as delineated in the Department directives titled "Body Worn
                                              Cameras" and 'In-Car Video Systems."

                7.       not view their in-car or body-worn camera videos until authorized by an on-scene supervisor,
                         in consultation with the Incident Response Team investigator, and consistent with the
                         restrictions outlined in Item X-C of this directive.

                8.       be responsible for the safety and security of persons in their custody. Department members
                         are reminded that a subject will be searched and restrained in such a manner as to prevent
                         escape and to provide for the safety of the public, the person in custody, and the officers
                         involved. Consistent with the above requirement, Department members will assess the
                         necessity to apply restraining devices (handcuffs) to subjects, including not applying
                         restraining devices to subjects who are known to be deceased.

        C.      Reviewing Supervisor. The assigned reviewing supervisor from the district of occurrence will:

                1.       proceed immediately to the scene and assume command and oversight of the scene until
                         relieved by a higher ranking supervisor from district law enforcement or the designated
                         exempt-level incident commander.

                         NOTE:                An assigned supervisor will remain on scene with sufficient information to
                                              fully brief the responding designated exempt-level incident commander
                                              responsible for the investigation, if applicable.

                2.       ensure sufficient district law enforcement units are available at the scene and request
                         additional personnel or equipment as necessary, including the assignment of the designated
                         exempt-level incident commander responsible for the investigation.


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                3.       ensure the appropriate medical attention is requested and, as soon as it is safe and feasible
                         to do so, provide life saving aid consistent with their Department training, including the Law
                         Enforcement Medical and Rescue Training (LEMART) training, to persons injured by a
                         Department member's use of force until medical professionals arrive on scene.

                         a.      Department members may provide appropriate medical care consistent with their
                                 training to any individual who has visible injuries, complains of being injured, or
                                 requests medical attention. This may include providing first aid and/or arranging for
                                 transportation to an emergency medical facility.

                         b.      If the scene is safe and the person in custody is secure, Department members will
                                 not interfere with emergency medical personnel when providing treatment to injured
                                 persons.

                4.       ensure the public safety investigation is conducted to ensure public safety, preserve
                         evidence, and secure the incident scene consistent with the Department directive titled
                         "Preliminary Investigations," including:

                         a.      securing the scene;

                         b.      addressing any injuries and public safety issues; and

                         c.      identifying and securing any victims, offenders, witnesses, and evidence.

                5.       establish an inner and outer perimeter at the scene of the incident as soon as practicable.

                         a.      The inner perimeters are the areas at the scene of the incident where physical
                                 evidence is likely to be recovered.

                         b.      The outer perimeters are the areas surrounding and encompassing the inner
                                 perimeters where assigned personnel can be briefed and deployed.

                         c.      The reviewing supervisor will ensure access to the specific areas of the crime scene
                                 is as delineated in the Department directive titled "Crime Scene Protection and
                                 Processing."

        D.      Responding Department Members. Department members responding to the scene will report to the
                on-scene supervisor and will perform all actions necessary to address the immediate needs of the
                scene, including:

                1.       immediately requesting medical attention for the injured and, as soon as it is safe and
                         feasible to do so, providing life saving aid consistent with their Department training, including
                         the Law Enforcement Medical and Rescue Training (LEMART) training, to persons injured by
                         a Department member's use of force until medical professionals arrive on scene.

                         a.      Department members may provide appropriate medical care consistent with their
                                 training to any individual who has visible injuries, complains of being injured, or
                                 requests medical attention. This may include providing first aid and/or arranging for
                                 transportation to an emergency medical facility.

                         b.      If the scene is safe and the person in custody is secure, Department members will
                                 not interfere with emergency medical personnel when providing treatment to injured
                                 persons.

                2.       securing the scene of the incident, including identifying and securing evidence.

                3.       locating and apprehending any offenders.

                4.       identifying and securing witnesses, to the extent reasonably possible and lawfully permitted.

        E.      District of Occurrence Command.




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                 1.      The district executive officer of the district of occurrence, when on duty, will respond to and
                         assume command of a firearm discharge or an officer-involved death incident until relieved of
                         responsibility by a higher ranking member from district law enforcement or the designated
                         exempt-level incident commander.

                 2.      If the district XO is not on duty, the commander of the district of occurrence will respond and
                         assume command.

         F.      COPA. Upon notification of a firearm discharge or officer-involved death incident as defined by 50
                 ILCS 727, COPA personnel, in accordance with Item IV-B of this directive, will immediately respond
                 to the incident scene to initiate and conduct the investigation consistent with COPA's jurisdiction.

VII.     POST-INCIDENT RESPONSIBILITIES
         The following procedures will be followed for all firearm discharge or officer-involved death incidents, after the
         scene has been secured, notifications have been made, and investigative personnel have arrived at the
         scene.

         A.      Involved Members. All involved Department members, if physically capable, will:

                 1.      remain on scene until released by the designated exempt-level incident commander
                         responsible for the investigation or directed to a different location for the completion of the
                         investigation, in coordination with the Incident Response Team and COPA.

                 2.      remain separate from and avoid any contact or communication with any other involved
                         members or witnesses until released by the designated exempt-level incident commander
                         responsible for the investigation, in coordination with COPA.

                 3.      report to the designated exempt-level incident commander responsible for the investigation
                         upon his or her arrival and cooperate with any additional public-safety-related questions as
                         consistent with consistent with the Department directive titled "Preliminary Investigations."

                 4.      not discuss the facts of the incident with any other involved members or witnesses, until
                         interviewed by COPA.

                         EXCEPTION:            This prohibition does not restrict communication:

                         a.       for officer or public safety (e.g., identifying criminal acts, tactical information),
                                  including during the completion of the public safety investigation.

                         b.       as instructed by counsel in relation to civil, criminal, or administrative proceedings.

                         c.       when participating in any wellness or stress management programs.

                         d.       This prohibition will not continue beyond 60 days from the date of the incident, unless
                                  COPA extends the prohibition.

                         e.       COPA may extend this prohibition, for additional 60 day periods, on an individual
                                  basis and only when it is determined to be necessary to preserve the integrity
                                  of the investigation.

                         f.       If this prohibition is extended, the above exceptions remain applicable and COPA
                                  will provide the member with an official notification and the parameters of the
                                  extension.

                         g.       Under no circumstances will this prohibition be extended beyond the final disciplinary
                                  decision of the investigation.

                                  NOTE:                Final disciplinary decision is defined as the conclusion of the
                                                       process for disciplinary recommendations described in the
                                                       Municipal Code of Chicago Section 2-78-130(a).

                 5.      continue to follow the existing procedures based on the nature of the incident, including but
                         not limited to:

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                         a.      "De-escalation, Response to Resistance, and Use of Force"

                         b.      "Firearm Discharge Incidents - Authorized Use and Post-Discharge Administrative
                                 Procedures"

                         c.      "Emergency Use of Department Vehicles"

                         d.      "Traffic Crashes Involving Department Members"

                         e.      "Miscellaneous Detention Facility Topics"

                6.       be afforded the opportunity, prior to completing incident reports or other documentation, to
                         listen to any audio and view any video contained on the Department-issued recording
                         equipment (e.g., In-Car Video Systems and Body-Worn Cameras) that contains audio or
                         video of the incident. This applies solely to audio and video captured from the perspective of
                         the member making the statement (e.g., the Body-Worn Camera worn by the member and In-
                         Car Video footage taken while the member was in the relevant vehicle). Any listening to such
                         audio or viewing such video must be disclosed by the member or his or her supervisor in the
                         reports and documentation related to the incident. Such information will be documented on
                         the case report, Tactical Response Report (TRR), and any other applicable Department
                         reports completed for the incident.

                7.       when applicable, truthfully and completely report each reportable use of force on a Tactical
                         Response Report (TRR) (CPD-11.377), consistent with the Department directive titled
                         "Incidents Requiring the Completion of a Tactical Response Report," and other reports at the
                         location designated by the designated exempt-level incident commander responsible for the
                         investigation.

                         NOTE:                A member that has discharged a firearm WILL NOT be required to
                                              complete the "Narrative" section of the TRR for any firearms discharge
                                              incidents (with or without injury).

                8.       complete any required reports to document the incident by truthfully and completely
                         describing the facts and circumstances concerning the incident and submit the reports by the
                         end of his or her tour of duty.

        B.      Witness Members. Any member, whether on or off duty, who did not discharge a firearm nor was
                involved in an officer-involved death incident, but who observed or was present during the incident or
                who has been fired upon will:

                1.       remain on scene until released designated exempt-level incident commander responsible for
                         the investigation or directed to a different location for the completion of the investigation, in
                         coordination with the Incident Response Team and COPA.

                2.       remain separate from and avoid any contact or communication with any other involved
                         members or witnesses until released by the designated exempt-level incident commander
                         responsible for the investigation, in coordination with COPA.

                3.       report to the designated exempt-level incident commander responsible for the investigation
                         upon his or her arrival and provide the investigative personnel with required information and
                         assistance.

                4.       not discuss the facts of the incident with any other involved members or witnesses, until
                         interviewed by COPA.

                         EXCEPTION:           This prohibition does not restrict communication:

                         a.      for officer or public safety (e.g., identifying criminal acts, tactical information),
                                 including during the completion of the public safety investigation.

                         b.      as instructed by counsel in relation to civil, criminal, or administrative proceedings.

                         c.      when participating in any wellness or stress management programs.

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                         d.      This prohibition will not continue beyond 60 days from the date of the incident, unless
                                 COPA extends the prohibition.

                         e.      COPA may extend this prohibition, for additional 60 day periods, on an individual
                                 basis and only when it is determined to be necessary to preserve the integrity
                                 of the investigation.

                         f.      If this prohibition is extended, the above exceptions remain applicable and COPA
                                 will provide the member with an official notification and the parameters of the
                                 extension.

                         g.      Under no circumstances will this prohibition be extended beyond the final disciplinary
                                 decision of the investigation.

                                 NOTE:                Final disciplinary decision is defined as the conclusion of the
                                                      process for disciplinary recommendations described in the
                                                      Municipal Code of Chicago Section 2-78-130(a).

                5.       complete any required reports to document the incident by truthfully and completely
                         describing the facts and circumstances concerning the incident and submit the reports by the
                         end of his or her tour of duty.

        C.      Reviewing Supervisor. The assigned reviewing supervisor from the district of occurrence will:

                1.       after the completion of the public safety investigation and the scene is safe and secure,
                         promptly contact CPIC from the scene to confirm the notifications listed in Item V-C have
                         been made and provide CPIC with additional relevant or updated incident information, if
                         known.

                2.       ensure the involved and witness members remain separate from each other, including being
                         transported separately from the scene, and monitored to avoid any contact or communication
                         with any other involved members or witnesses until released by the designated exempt-level
                         incident commander responsible for the investigation, in coordination with COPA.

                         NOTE:                When feasible, involved and witness members will be monitored by
                                              supervisory personnel of higher rank.

                3.       ensure witnesses and other persons (Department member or non-Department member) who
                         may have relevant information are made available to the on-scene designated exempt-level
                         incident commander, Incident Response Team and COPA personnel for on-scene interviews.

                4.       when feasible, ensure all Department and non-Department vehicles involved in the incident
                         remain undisturbed until Forensic Services Division personnel, the designated exempt-level
                         incident commander , and COPA assess the need for and complete any forensic processing.

                5.       ensure a sworn Department member, other than the involved member, has been assigned to
                         conduct the preliminary investigation, prepare the original case report, relay additional
                         information to investigating units, and make the appropriate notifications, including to the
                         Medical Examiner's Office for officer-involved deaths.

                6.       ensure written reports are generated and submitted to document on-scene investigative
                         activities performed by district law enforcement personnel, such as searches for firearms or
                         other physical evidence, and review all written reports generated by district law enforcement
                         personnel submitted during the preliminary investigation.

                7.       ensure that the name, star number, and unit of assignment of all Department members and
                         the name and organizational affiliation of all non-Department personnel (e.g., COPA) who
                         have arrived on the scene, including the time of arrival, or who enter the crime scene are
                         documented in accordance with the Department directives titled "Preliminary Investigations"
                         and "Crime Scene Protection and Processing."

                8.       for firearm-discharge incidents, ensure:


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                         a.      when feasible, no member of any rank other than Forensics Services Division
                                 personnel handles, inspects, unloads, or otherwise tampers with the involved
                                 member's firearm.

                                 NOTE:                If the involved member is injured and was relieved of his or her
                                                      firearm by another Department member prior to receiving
                                                      medical treatment, the responding supervisor will take
                                                      possession of the firearm and duty belt from the securing
                                                      member and ensure that the firearm remains holstered and
                                                      secured.

                         b.      unless the member was disarmed, the firearm remains holstered and secured
                                 pending the arrival of Forensic Services Division personnel and COPA personnel.

                         c.      where circumstances require that a Department member's firearm must be preserved
                                 as evidence, the firearm is processed in compliance with the Department directive
                                 titled "Crime Scene Protection and Processing."

                         d.      all fired projectiles have been accounted for without contaminating or interfering with
                                 the collection and maintenance of evidence.

                9.       for officer-involved death investigations, ensure:

                         a.      the Medical Examiner's Office is notified of an officer-involved death and a Medical
                                 Examiner (ME) number is obtained.

                         b.      when practicable, the prompt screening of the decedent from public view (e.g.,
                                 blocking the public view or covering of the decedent) is provided, consistent with his
                                 or her training and available equipment.

                                 (1)      At any time during the course of the investigation, if the highest ranking on-
                                          scene district law enforcement supervisor determines that the safety of
                                          officers or the public is in jeopardy, the supervisor may request the
                                          immediate removal of the decedent from the scene, consistent with Item X-E
                                          of this directive.

                                 (2)      If appropriate, the supervisor will consult with the Incident Response Team
                                          supervisor or designated exempt-level incident commander responsible for
                                          the investigation prior to the screening, covering, or removal the decedent.

                10.      if circumstances necessitate the relocation of the investigation from the site of the
                         occurrence, contact the designated exempt-level incident commander responsible for the
                         investigation for authorization and notify CPIC.

                11.      complete the reviewing supervisor's section of the TRR, if applicable and appropriate.

                         NOTE:                If the involved member is of the rank of sergeant or higher, a higher
                                              ranking member will complete the supervisor's section of the TRR.

                12.      remain on duty until dismissed by the designated exempt-level incident commander
                         responsible for the investigation.

        D.      Watch Operations Lieutenant. The watch operations lieutenant of the district of occurrence will:

                1.       verify the appropriate supervisory resources have responded to the scene and ensure the
                         responsibilities of the reviewing supervisor have been assigned to the appropriate supervisor.

                2.       obtain a Universal (U) Number from COPA in all cases in which a Department member has:

                         a.      discharged a firearm (on or off duty) and another person is injured or killed by one or
                                 more bullets fired by that member, or

                         b.      suffered a self-inflicted gunshot wound.


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                3.       follow the procedures in the Department directive titled "Notification of Death or Serious Injury
                         to a Member: Duty Related" when a Department member has been injured or killed by gunfire
                         or seriously injured or killed as a result of any firearm discharge or officer-involved death
                         incident.

VIII.     INCIDENT INVESTIGATION

          A.    Designated Exempt-Level Incident Commander. The on-scene designated exempt-level incident
                commander responsible for the investigation will:

                1.       proceed to the scene, assume command of the scene, and ensure a complete and thorough
                         investigation is conducted of the incident.

                2.       ensure all tasks delineated for lower-ranking personnel have been or are being performed,
                         including the public safety investigation at the scene of the incident.

                3.       personally conduct an investigation into the circumstances surrounding the incident in a
                         manner consistent with this directive.

                4.       confer with the supervisor who conducted the initial public safety investigation and, if deemed
                         necessary, conduct a voluntary walk through and a public safety interview with each of the
                         involved Department member(s) without delay and outside the presence of any other
                         individual.

                5.       designate a supervisor responsible for assisting in the preliminary investigation whenever the
                         incident has occurred in more than one district.

                6.       ensure that each involved member is accompanied and monitored by a supervisor of higher
                         rank than the involved member, when feasible, who will ensure the involved member is
                         separated and directed not to communicate with any other Department member or witnesses
                         to the incident, consistent with Item VII-A-4 and VII-B-4 of this directive.

                         a.      The designated exempt-level incident commander responsible for the investigation
                                 will assign separate transportation for the involved and witness members and ensure
                                 they avoid contact or communication related to the incident until released by the
                                 designated exempt-level incident commander responsible for the investigation, in
                                 coordination with COPA.

                         b.      The involved member will be escorted from the scene as soon as practicable and
                                 remain accompanied by a supervisor until released by the designated exempt-level
                                 incident commander responsible for the investigation, in coordination with COPA.

                7.       ensure Forensic Services Division personnel collect and process evidence at the scene of the
                         incident and complete all required tasks outlined in this directive.

                         NOTE:                In consultation with COPA investigative personnel if available, the
                                              designated exempt-level incident commander responsible for the
                                              investigation may waive firearm inventory and ballistic examination and
                                              may authorize the member to retain his or her firearm in instances in
                                              which there is no likelihood of death or injury to a person or no
                                              identifiable property damage resulting from a firearm discharge incident.

                8.       ensure the appropriate notifications and reporting requirements are completed, including the
                         completion of the secondary case report by Bureau of Detectives personnel and when
                         applicable, the notification to the Medical Examiner's Office.

                9.       unless immediately necessary, consult with responding COPA investigative personnel if
                         available, Bureau of Detectives personnel, and Forensic Services Division personnel before
                         any involved vehicles are removed from the scene.




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                10.      may direct additional investigatory actions or otherwise coordinate the Department's on-
                         scene response to any firearm discharge or officer-involved death incident as deemed
                         necessary.

                11.      ensure any representatives from the Fraternal Order of Police (FOP) or the Police Benevolent
                         and Protective Association (PBPA) do not interfere in the investigation of the incident, but are
                         provided the appropriate access consistent with their respective collective bargaining
                         agreement.

                12.      fulfill the obligations outlined in the Department directive titled "Traumatic Incident Stress
                         Management Program," including:

                         a.      determining whether an incident should be classified as a traumatic incident in
                                 situations other than those specifically defined as a traumatic incident.

                         b.      notifying the Professional Counseling Division of the incident.

                         c.      notifying the affected member of their responsibilities.

                13.      prior to the end of his or her tour of duty, complete the review process for the submitted
                         Tactical Response Reports following the procedures outlined in the Department directive
                         titled "Incidents Requiring the Completion of a Tactical Response Report."

                         NOTE:                Consistent with the Department directive titled "Incidents Requiring the
                                              Completion of a Tactical Response Report," the designated exempt-level
                                              incident commander will review and approve all submitted TRRs for the
                                              incident, including for any lesser uses of force by Department members
                                              associated with the firearm discharge or officer-involved death incident.

                14.      if necessary, prior to the end of his or her tour of duty, review the Major Incident Notification
                         Report and ensure its completion.

        B.      COPA Personnel. Upon the arrival of COPA personnel, the designated exempt-level incident
                commander responsible for the investigation:

                1.       will ensure that as soon as the scene is safe and secure, COPA investigators will be provided
                         the opportunity to participate in the preliminary assessment during the immediate aftermath of
                         a firearm-discharge or officer-involved death incident to the same extent as any Department
                         member or any other law enforcement agency investigating the incident.

                2.       will provide a narrative of the incident to the COPA investigators based on the information
                         available at that time, including, but not limited to:

                         a.      walking through the incident scene.

                         b.      providing information obtained from the "public safety" interview conducted with the
                                 involved member(s).

                         c.      disclosing any and all evidence and witnesses identified by Department personnel.

                3.       has an ongoing obligation to keep COPA personnel apprised of all relevant information or
                         evidence identified or obtained pursuant to on-scene law enforcement activity or Department
                         investigation, including approved reports.

        C.      COPA personnel will be responsible for notification and responding to the Cook County State's
                Attorney's Office Law Enforcement Accountability Division concerning the officer-involved death
                investigation.




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        D.      As soon as it becomes apparent, any conflict of opinion or procedure between Department members
                and COPA investigative personnel at the scene will be reported to the on-scene designated exempt-
                level incident commander. The on-scene designated exempt-level incident commander will confer
                with the COPA investigative personnel to immediately resolve the conflict on-scene. If an immediate
                resolution is unavailable, the conflict will be reported up the respective chains of command for
                resolution.

        E.      Bureau of Detectives Responsibilities

                1.       In all officer-involved death incidents and firearm discharge incidents other than the
                         destruction/deterrence of an animal with no human injury, the Bureau of Detectives area
                         commander and the Incident Response Team supervisor will consult with the assigned
                         designated exempt-level incident commander and determine the appropriate Bureau of
                         Detectives response.

                2.       When assigned to the investigation of a firearms discharge or officer-involved death incident,
                         the Incident Response Team supervisor will:

                         a.      personally respond to the scene of the investigation.

                         b.      under the direction of the appropriate Bureau of Detectives area commander,
                                 assume the responsibility for the criminal investigation of non-Department members.

                         c.      ensure the preservation of evidence.

                                 NOTE:                The highest ranking member of the Bureau of Detectives on
                                                      scene will be responsible for the collection and processing of
                                                      evidence on the scene. The highest ranking district law
                                                      enforcement member on scene will be responsible for protection
                                                      of the evidence and maintaining the crime scene until all
                                                      evidence is collected.

                         d.      coordinate with responding COPA investigative personnel regarding the collection
                                 and processing of evidence and the interviewing of witnesses.

                         e.      ensure the identification of witnesses.

                         f.      ensure that interviews of witnesses related to the criminal investigation of the non-
                                 Department member(s) associated with the firearms discharge or officer-involved
                                 death incident are video-recorded, when possible, unless the witness declines to
                                 permit such recording or such recording is prohibited by law.

                         g.      ensure that all witnesses are informed that they have the opportunity to speak with
                                 investigative personnel from COPA and witness interviews are conducted in
                                 accordance with Item IX of this directive.

                         h.      provide timely responses to requests for information from COPA investigative
                                 personnel during the preliminary investigation on scene and any additional follow-up
                                 investigations.

                         i.      if appropriate, be responsible for notification and responding to the Cook County
                                 State's Attorney's Office Felony Review concerning the underlying criminal
                                 investigation.

                         j.      make available to COPA investigative personnel, reports (when completed and
                                 approved), information, video and audio materials, and any other documents or
                                 material of evidentiary value related to the incident.

                         k.      ensure all reports are completed in a timely manner.




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                3.       The assigned Bureau of Detectives personnel will complete a secondary case report,
                         consistent with the classifications outlined in the Incident Reporting Guide (CPD-63.451), to
                         document the Department's investigation of firearm discharge incidents involving sworn
                         members other than the destruction of an animal where no one was injured or officer-involved
                         death incidents. The assigned Bureau of Detectives personnel will:

                         a.      ensure the secondary case report is associated with the Records Division (RD)
                                 number of the original incident case report.

                         b.      document each Department member who viewed video evidence or listened to audio
                                 evidence at the scene, including whether the video was viewed or the audio was
                                 listened to with COPA investigative personnel present.

                         c.      document the name and time of arrival of all COPA investigative personnel arriving
                                 on the scene.

IX.     WITNESS INTERVIEWS

        A.      Witnesses will not be held or detained against their will consistent with the Department directive titled
                "Preliminary Investigations."

        B.      COPA personnel will be afforded the opportunity to interview all witnesses.

                1.       The order in which Department investigators and COPA investigators conduct witness
                         interviews will be determined by the designated exempt-level incident commander
                         responsible for the investigation and the COPA investigative personnel, in consultation with
                         the Bureau of Detectives personnel.

                2.       If the Department is conducting a concurrent investigation of criminal conduct by non-
                         Department members related to the incident, the witness interviews may be conducted
                         concurrently, if feasible, by the Department and COPA.

        C.      All witnesses will be informed of the opportunity to speak with investigative personnel from COPA.
                When known, Department personnel will notify COPA personnel before a witness leaves a
                Department facility or the scene of the incident. However, witnesses will not be held or detained
                against their will solely for the purpose of notifying COPA personnel.

        D.      Department members will continue to identify and transport civilian witnesses to the appropriate
                Bureau of Detectives Area for the purpose of conducting interviews.

                NOTE:                 Although all witnesses will be encouraged to be transported to the appropriate
                                      Bureau of Detectives Area office to be interviewed, witnesses who refuse, but are
                                      willing to be interviewed on scene should be accommodated and, if appropriate,
                                      afforded safety and security considerations. On-scene voluntary interviews may
                                      be facilitated by the use of Department recording devices (e.g., In-Car Video
                                      Systems, Body Worn Cameras) consistent with the Department directives titled
                                      "Body Worn Cameras" and "In-Car Video Systems."

        E.      COPA, and, if appropriate, Cook County State's Attorney's Office personnel, will interview any
                available civilian witnesses.

X.      CRIME SCENE ACCESS AND EVIDENCE PROCESSING

        A.      Once the scene is safe and secure, the COPA investigative personnel will have immediate access to
                all areas within the designated crime scene, in coordination with the designated exempt-level incident
                commander responsible for the investigation.

        B.      Department members will continue to identify, secure, protect, collect, and process evidence at the
                incident scene consistent with the Department directive titled "Crime Scene Protection and
                Processing."




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                1.       Department members assigned to the Forensic Services Division may mark and photograph
                         evidence at the scene prior to the arrival of the COPA investigative personnel. Evidence will
                         not be collected or processed until the arrival of the COPA personnel, unless exigent
                         circumstances necessitate immediate collection and processing (e.g., inclement weather
                         resulting in the loss or destruction of evidence).

                2.       Additional evidence identified by the on-scene COPA investigative personnel will be collected
                         by Forensic Services Division personnel with the concurrence and approval of the COPA
                         investigative personnel.

                3.       Any and all items of evidence identified by either the Department or COPA will be
                         photographed, collected, and processed by Forensics Services Division personnel.

                4.       Forensic Services Division personnel will collect and process evidence in a manner to ensure
                         a timely removal of a decedent from a public incident scene, when applicable.

        C.      A member of the COPA investigative team must be present for:

                1.       the first viewing of available video or audio material related to the incident.

                2.       the collection and preservation of any:

                         a.      firearms recovered at the scene, and

                         b.      audio and video material obtained at or near the scene of the investigation from the
                                 Department or a third-party.

                EXCEPTION:            This requirement will not apply when there is a public safety need to listen to,
                                      review, or collect any evidence prior to the on-scene arrival of COPA
                                      investigative personnel and COPA personnel have been notified of the incident
                                      and are unavailable.

        D.      Forensic Services Division personnel will:

                1.       take complete and accurate measurements of the scene from which to develop a detailed
                         plat.

                2.       take numerous detailed photographs of the scene from various angles and depths, procuring
                         artificial light as necessary.

                3.       consult with responding COPA personnel regarding the collection and processing of evidence
                         related to the incident, including activities to take place at other locations, such as hospitals.

                4.       upon request of COPA personnel in consultation with the designated exempt-level incident
                         commander responsible for the investigation, take detailed photographs of officers involved in
                         or witness to the firearms discharge or officer-involved death incident.

        E.      Deceased Removal

                1.       At any time during the course of the investigation, if the highest ranking on-scene district law
                         enforcement supervisor determines that the safety of officers or the public is in jeopardy, the
                         supervisor may request the immediate removal of the decedent from the scene.

                2.       If an immediate removal is deemed necessary, the highest ranking on-scene district law
                         enforcement supervisor will ensure that the deceased remains are pronounced consistent
                         with the Department directive titled "Processing and Transportation of Deceased Persons."
                         When removing the decedent from the scene, Department members will proceed in a
                         respectful and private manner to the extent possible.

XI.     POST-FIREARM DISCHARGE INCIDENT SCENE AND FIREARM PROCESSING




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        A.      Unless there are overriding public or officer-safety concerns, no members of any rank other than
                Forensic Services Division personnel will handle, inspect, unload, or otherwise tamper with the
                involved member(s)' firearm(s), or any other firearms involved in the firearms-discharge incident. The
                firearm will remain holstered and secured pending the arrival of the designated exempt-level incident
                commander responsible for the investigation and Forensic Services Division personnel.

        B.      If the Department member was disarmed during the firearm-discharge incident or if the firearm
                contains biological or other trace-matter evidence, the firearm will be preserved as evidence and
                processed in compliance with the Department directive titled "Crime Scene Protection and
                Processing."

        C.      Forensic Services Division personnel will:

                1.       conduct any necessary firearm inspection(s) on-scene in the presence of the designated
                         exempt-level incident commander, Incident Response Team personnel, and COPA
                         personnel, unless unavailable. If the designated exempt-level incident commander
                         determines that safety concerns or weather conditions preclude the on-scene inspection, the
                         involved member(s) will remain in the continual presence of a designated supervisor of higher
                         rank than the involved member until the inspection is conducted by Forensic Services
                         Division personnel in the affected Bureau of Detectives area in the presence of COPA
                         personnel.

                2.       upon request of COPA personnel in consultation with the designated exempt-level incident
                         commander, examine the firearm(s) of Department members present at the time of the
                         firearm-discharge incident to:

                         a.      identify its make, model, serial number, caliber, type (revolver, semi-automatic pistol,
                                 rifle, shotgun, etc), and other identifiers,

                         b.      determine the type of ammunition used, and

                         c.      determine the number of rounds expended and/or remaining.

                3.       examine the surrounding area, including property and any involved vehicles, to identify the
                         number and location of cartridge casings, bullets, bullet fragments, bullet entries and exits, or
                         other property damage caused by bullets, bullet fragments, or other projectiles.

                4.       identify and photograph all visible bullet entries in surrounding vehicles and property and, if
                         necessary and feasible, conduct trajectory analysis.

                5.       inventory all firearms known to have been discharged by a Department member and all
                         firearms for which inspection is inconclusive as to whether the firearm was discharged in
                         accordance with Department directive titled "Firearms Taken into Custody or Turned In."
                         These firearms will be inventoried in cases in which:

                         a.      an individual has been injured or killed.

                         b.      identifiable property damage has occurred.

                         c.      potential property damage may have occurred. In potential property damage cases,
                                 the designated incident commander responsible for the investigation may authorize
                                 the responsible member to retain his or her firearm for subsequent personal transport
                                 to the Forensics Services Division within ninety-six hours of the incident. The
                                 authorization will be noted in the "Comments" field of the eTrack inventory
                                 application.

                6.       if necessary and feasible, preserve the scene for possible trajectory analysis and:

                         a.      avoid removing bullet fragments from surfaces in a manner that would prevent
                                 possible trajectory analysis.




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                           b.      determine whether processing involved vehicles can be effectively accomplished on
                                   scene. If involved vehicles are to be transported to a secure environment for later
                                   processing, Department personnel will be cognizant not to disturb content and
                                   configuration of the vehicle (e.g., disturbing the position of the seats).

                  7.       if the investigation indicates additional weapons were discharged, upon request of COPA
                           personnel in consultation with the designated exempt-level incident commander responsible
                           for the investigation, conduct gun shot residue testing on:

                           a.      any civilian involved in the incident whenever a weapon is recovered on scene or any
                                   witness to the incident believes the subject possessed a weapon.

                           b.      any Department member present when the firearm-discharge incident occurred, if
                                   requested by COPA personnel.

XII.      DISSEMINATION OF INFORMATION

          A.      The release of Department information to the news media concerning firearm discharge and officer-
                  involved death incidents will be consistent with the Department directive titled "News Media
                  Guidelines."

          B.      In consultation with the Commander, Incident Response Team, and designated exempt-level incident
                  commander responsible for the investigation, the Director, Communications Division, (or a designee
                  who is not directly involved in the investigation or investigative chain) is responsible for addressing
                  on-scene media inquiries on behalf of the Department. When applicable and appropriate, the
                  Communications Division will:

                  1.       coordinate an on-scene media statement summarizing the preliminary investigation of an
                           incident.

                  2.       issue a formal preliminary written statement to news media outlets.

          C.      The Communications Division is responsible for responding to news media inquiries on behalf of the
                  Department not made from the scene of the incident, including those made via phone, email, or other
                  electronic communications.

          D.      News media inquires concerning the investigation of an officer-involved death pursuant to the Illinois
                  Police and Community Relations Improvement Act (50 ILCS 727) will be referred to COPA.

          E.      Consistent with the policies outlined in this and other associated directives, the Incident Response
                  Team and Bureau of Detectives personnel will be responsible for notifying the family of individuals
                  who have been injured or the deceased during a firearm discharge or officer-involved death incident.

          F.      Any additional Department communication concerning a firearm discharge or officer-involved death
                  incident will be made in consultation with the Force Investigation Division.

XIII.     CONFLICT PROVISION
          If this directive conflicts with any other Department directive, this directive will take precedence.



                                                                          David O. Brown
                                                                          Superintendent of Police
20-120 MWK/TSS




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